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 1
     ANTHONY P. CAPOZZI, CSBN: 068525
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. SHAW AVE., SUITE 102
 3   FRESNO, CALIFORNIA 93711
     PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5

 6   ATTORNEY FOR Defendant,
     OSCAR BARRAGAN
 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
                                                   ******
11   UNITED STATES OF AMERICA,                            Case No.: 1:14-CR-00154-009 LJO
12
                    Plaintiff,                            STIPULATION AND ORDER TO
13                                                        CONTINUE SENTENCING
            v.
14                                                        Date: September 26, 2016
15   OSCAR BARRAGAN,                                      Time: 8:30 a.m.
                                                          Courtroom: 4
16                  Defendant.                            Hon. Lawrence J. O’Neill

17

18          Defendant, OSCAR BARRAGAN, by and through his attorney of record, Anthony P.
19   Capozzi and the United States Attorney by and through Kimberly A. Sanchez, hereby
20   stipulate as follows:
21          1. By previous order, this matter was set for sentencing on September 26, 2016, at 8:30
22   a.m.
23   2. The parties agree and stipulate that Defendant’s sentencing be continued to October 31,
24   2016, at 8:30 a.m. with informal objections being due on October 3, 2016, and formal
25   objections being due on October 17, 2016.
26          3. Additionally, the parties agree and stipulate, and request that the Court find the
27   following:
28                  a. The Defendant pled guilty on July 5, 2016. Ongoing negotiations have been
                                                          1
                             STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                           CASE NO.: 1:14-CR-00154-9 LJO
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 1          taking place between the Government and the Defendant exploring matters relevant to a

 2          recommended sentence.

 3                  b. Defense counsel is currently preparing for a jury trial in USA v. Adam Henry

 4          1:13-cr-00409-AWI which is scheduled to begin on September 13, 2016.

 5                  c. The Government does not object to this continuance.

 6   IT IS SO STIPULATED.

 7                                            Respectfully submitted,

 8    DATED:       August 29, 2016      By: /s/ Kimberly A. Sanchez
                                            KIMBERLY A. SANCHEZ
 9                                          United States Attorney
10

11

12    DATED:       August 29, 2016      By: /s/Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
13                                          Attorney for Defendant OSCAR BARRAGAN
14

15

16                                              ORDER
17          For reasons set forth above, the continuance requested by the parties is granted for

18   good cause.

19          The sentencing currently scheduled for September 26, 2016, at 8:30 a.m. is continued
20   to October 31, 2016, at 8:30 a.m. with informal objections being due on October 3, 2016,
21   and formal objections being due on October 17, 2016.

22

23   IT IS SO ORDERED.
24
         Dated:    August 29, 2016                         /s/ Lawrence J. O’Neill _____
25                                                UNITED STATES CHIEF DISTRICT JUDGE

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27

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                                                      2
                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                       CASE NO.: 1:14-CR-00154-9 LJO
